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                      IN THE UNITED STATES DISTRICT COURT FOR THE

                                DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              )
                                                      )
                 v.                                   )       Case No.: _____________
                                                      )
MCKINLEY MOODY,                                       )
                                                      )
                                                      )
                  Defendant.                          )

 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

          I, Joshua Rothman, a Special Agent with the Federal Bureau of Investigation being duly

sworn, depose and state as follows:

          1.     I have been a Special Agent with the FBI for the past thirteen years, and have been

stationed at the Washington, D.C. field office that entire time. I am currently assigned to the FBI

Safe Streets Task Force. In that role, I am principally involved in narcotics and narcotics-related

investigations, including violent offenses related to narcotics investigations. Since 2008, I have

received training and experience in interviewing and interrogation techniques, arrest procedures,

search and seizure, narcotics, white-collar crimes, search warrant applications, and various other

crimes.

          2.     Since January 2015, I have been assigned to investigate federal narcotics crimes on

the FBI Washington, D.C. Safe Streets Task Force, a violent crime and gang task force. In the

course of my training and experience, I have become familiar with the methods and techniques

associated with the distribution of narcotics, the laundering of drug proceeds, and the organization

of drug conspiracies. In the course of conducting these investigations, I have been involved in the

use of the following investigative techniques: interviewing informants and cooperating witnesses;



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conducting physical surveillance; conducting short-term and long-term narcotics and homicide

investigations; consensual monitoring and recording of both telephonic and non-telephonic

communications; analyzing telephone pen register and caller identification system data;

conducting court-authorized electronic surveillance; conducting court-authorized Title III wiretap

investigations; and preparing and executing search warrants that have led to substantial seizures

of narcotics, firearms, and other contraband.

       3.       Through my training and experience, as described above, I have become familiar

with the provisions of the federal firearms laws administered under Title 18 and Title 26 of the

United States Code, as well as controlled substance laws administered under Title 21 of the United

States Code. I have personally conducted and participated in investigations that have resulted in

the arrest and conviction of numerous individuals responsible for violations of the District of

Columbia Code and United States Code including, but not limited to, narcotics and firearms

offenses.

       4.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all my knowledge, or the knowledge of others, about this matter.

       5.       Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of 21 U.S.C. §§ 841(a)(1)

has been committed by MCKINLEY MOODY (“MOODY”).

                                      PROBABLE CAUSE

       6.       On June 8th, 2021, Detective Bigg of the Arlington County Police Department in

Arlington, Virginia received information from Detective Ashley Russell of the Prince George’s



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County Police Department, in Prince George’s County, Maryland about an ongoing narcotics

distribution investigation in the Washington, D.C. region. Detective Russell informed Detective

Bigg that while conducting surveillance, she observed a target of their investigation (later

identified as MOODY) possibly moving into an apartment at 1200 North Queen Street in

Arlington. Detective Russell informed Detective Bigg that they had observed an unidentified male

unloading a Mercedes Benz Sprinter van registered to MOODY into 1200 North Queen Street.

Detective Russell suspected that a large amount of controlled substances were being taken into the

apartment, as MOODY had just returned from California. Detective Russell also informed

Detective Bigg that, based on their investigations, MOODY uses apartments obtained by

fraudulent means, particularly identity theft.

       7.      On June 9, 2021, Detective Bigg spoke with management at Gables 12 Twenty

One, which oversees renting at 1200 North Queen Street. Management reported that a deposit had

been returned that day for Apartment 437. Management also reported that the person that had

rented the apartment never asked to tour the apartment nor complex, which they found unusual.

At approximately 1100 hours on June 9, 2021, Detective Russell reported that they had observed

MOODY and associates of his walking back and forth between the same Mercedes Benz Sprinter

van and a U-Haul van. At approximately 1430 hours on June 9th, 2021, I observed the Mercedes

Benz Sprinter van (FL Tags: CXW9678) and a U-Haul truck parked directly in front of the front

door for 1200 North Queen Street. There was a red hand truck behind the U-Haul and two

unidentified black males standing between the U-Haul and the front doors to 1200 North Queen

Street. Detective Ravinskas observed a black male wearing a white t-shirt and blue pants exit a

white Nissan sedan and enter the Mercedes Benz Sprinter van. He observed another black male

wearing a black t-shirt enter the driver’s seat of the Sprinter Van.



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       8.      Management of the Gables 12 Twenty One notified Detective Bigg they had “cut

off” the fob access to Apartment 437 due to the lack of payment. They told the individuals moving

in that they needed to see the identification of the person that had reserved the apartment as well

as a cashier’s check for the deposit before they would allow them to continue moving in. After a

short time, all of the individuals departed the apartment building. Apartment Manager Kelly

O’Toole called Detective Bigg and asked if he would escort her to apartment 437 to ensure it was

vacant, but instead of waiting, decided to inspect the apartment while Detective Bigg was still on

the phone with her. O’Toole knocked on the door twice and yelled “Management”. She stated she

opened the door to the apartment so maintenance could change the locks. O’Toole informed

Detective Bigg the apartment “reeked” of marijuana. O’Toole further informed Detective Bigg she

changed the locks and would not be granting anyone access prior to receiving a valid deposit as

well as valid identification.

       9.      On June 10, 2021, Detective Bigg secured a search warrant for 1200 North Queen

Street, Apartment 437. The search warrant was signed and sealed by Judge Wheat, of the Arlington

County Circuit Court. The search warrant was executed by Officer Hammond #1526 and

Organized Crime Section detectives at approximately 5:32 pm on June 10, 2021. Nobody was

located inside of the apartment. Numerous items of evidence of drug distribution were located in

the apartment to include: four bags of suspected marijuana (totaling approximately 4.45 pounds

including the packaging), $36,520 in United States paper currency, approximately 2,000 unused

bags for 3.5 grams of marijuana, twelve unused bags for one-pound measurements of marijuana,

a money counter, a 5.7 millimeter firearm cartridge, two iPads, and one Macbook computer. The

United States currency was found inside of a safe with nine of the unused bags for 3.5 grams of

marijuana (Blue Leprechaun) and the rifle cartridge. There was also a key for a Rolls Royce found



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in the bedroom. In the living room under the kitchen bar, there was an orange “Caviar” cooler bag.

All of the empty packaging was placed into that cooler bag to be transported to the station. As

Detective Bigg was attempting to get an approximate count of the packaging in property, Detective

Bigg observed four handgun bullets loose at the bottom of the bag. Based on the evidence seized

from the apartment, an arrest warrant was issued in Arlington County, Virginia, on July 15, 2021,

for the arrest of McKinley MOODY for Possession with Intent to Distribute between one ounce

and five pounds of marijuana.

       10.     On July 16, 2021, FBI Special Agents executed a District of Columbia Superior

Court search warrant 21-C5WSLD-2336, for the Hyatt House, 725 Wharf Street, room #906,

Washington, District of Columbia. Upon entering the room, McKinley MOODY and XXX were

present. MOODY was arrested pursuant to the Arlington County, Virginia arrest warrant. Seized

from the room was five pounds of marijuana, $13,000 in cash and miscellaneous packaging

material indicative of the illegal distribution of marijuana rather than personal use.

       11.     After executing the search warrant and conducting interviews, Prince George’s

County Police Department Sergeant Joseph Bellino and Detective Ashley Russell identified a

storage unit in Fairfax County, Virginia that MOODY utilized in furtherance of his drug dealing

offenses. Sergeant Bellino and Dective Russel further learned that the storage unit was kept in the

name of K.B., a female associate of MOODY’s, and went to speak with her about the storage unit.

K.B. agreed to speak with law enforcement, during which time she confirmed that the storage unit

was rented in her name but all of the property inside the unit belonged to MOOD. K.B. then

consented to a search of the storage unit.. Sergeant Bellino and Detective Russell, along with the

Fairfax County Police Department, executed a consent search of the storage unit - Public Storage,

Unit D184, 5819 Columbia Pike, Falls Church, Virginia, 22041 – and recovered a Glock 9mm



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handgun with an extended magazine and a privately manufactured (aka ghost gun) AR pattern

pistol with a drum magazine.

       12.     Attached below is a picture of MOODY which was posted on December 29, 2020

to his Instagram account “redleafexoticfarms”. In the picture MOODY is holding a large amount

of cash and a Glock handgun with an extended magazine that has a finger rest at the bottom. A

statement underneath the picture which was posted using MOODY’s Instagram account stated,

“To the lil Nigga who sent them other lil niggas to my house. We use to b family but the way this

lil nigga just played his hand 60k gonna get him and his other brother tuck off n a casket…” I

understand MOODY was stating that someone was sent to his house (“who sent them other lil

niggas to my house”) and as a result MOODY was going to kill (“tuck off n a casket”) the person

who sent him and the person who came to his house (“gonna get him and his other brother”). To

the right of the picture posted on Instagram is a picture of firearms seized from the storage unit.

The Glock handgun underneath the AR pattern pistol has an extended magazine with a finger rest

at the bottom that looks visually consistent with the Instagram picture.




       13.


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       14.     Based on the foregoing, your affiant asserts that there is probable cause to conclude

that, on or about July 16, 2021, in the District of Columbia, MCKINLEY MOODY violated 21

U.S.C. § 841(a)(1), which makes it a crime to distribute, or possess with the intent to distribute, a

mixture and substance containing a detectable amount of marijuana.



                                      _____________________________________
                                      Special Agent Joshua Rothman
                                      Federal Bureau of Investigation



Subscribed and sworn by telephone pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on July 20, 2021.

                        2021.07.20
                        16:15:15 -04'00'
_________________________________________
HON. ZIA M. FARUQUI
UNITED STATES MAGISTRATE JUDGE




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